 1   Mark D. Estle, SBN 135004
     Buckley Madole, P.C.
 2   12526 High Bluff Drive, Suite 238
 3   San Diego, CA 92130
     Telephone: 858-720-0890
 4   Fax: 858-720-0092
     Mark.Estle@BuckleyMadole.com
 5
 6   Attorney for Movant

 7
 8                                UNITED STATES BANKRUPTCY COURT
 9             FOR THE NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
10   In re:                                                Case No. 12-54151
11   Mario E. Cuestas,                                     Chapter 13
12                                                         DECLARATION IN SUPPORT OF MOTION
                                                           TO APPROVE LOAN MODIFICATION
13
                                                           (no hearing required unless requested in writing)
14
                                            Debtor
15
16   I, Maurice Dorsey declare:
17            I am employed as a(n) Assistant Secretary by Nationstar Mortgage LLC ("Movant"). I am over
18   18 years of age. I have knowledge regarding Movant's interest in the property and of the Mario E. Cuestas
19   ("Debtor") loan account that is the subject of this Motion. I have personal knowledge of the matters set
20   forth in this declaration and, if called upon to testify, I could and would competently testify thereto.
21            I am one of the custodians of the books, records and files of Movant that pertain to loans and
22   extensions of credit given to Debtor concerning the Property. I have access to the books, records and
23   files, and as to the following facts, I know them to be true of my own knowledge or I have gained
24   knowledge of them from the business records of Movant on behalf of Movant, which were made at or
25   about the time of the events recorded, and which are maintained in the ordinary course of Movant's
26   business at or near the time of the acts, conditions or events to which they relate. Any such document
27   was prepared in the ordinary course of business of Movant by a person who had personal knowledge
28

     DECLARATION IN SUPPORT OF                       1                                                5558-N-3743
     MOTION TO APPROVE LOAN MODIFICATION                                                          DecMod_CA_0001

     Case: 12-54151      Doc# 75-1      Filed: 11/18/14     Entered: 11/18/14 12:16:07         Page 1 of
                                                     2
 1   of the event being recorded and had or has a business duty to record accurately such event. The business
 2   records are available for inspection and copies can be submitted to the Court if required.
 3       1. The subject Note is secured by Deed of Trust executed on or about May 18, 2007, covering
 4   certain real property located at 2424/2426 Cincinnati Ave, San Antonio, Texas 78228 (the "Property").
 5   True and correct copies of the Note and Deed of Trust are attached hereto as Exhibits A and B,
 6   respectively, and incorporated herein by reference.
 7       2. The Note in the original principal amount of $75,000.00, dated May 18, 2007, was executed by
 8   Mario E. Cuestas.
 9       3. Debtor and Movant have agreed to modify the Debtor's loan to adjust the amount of interest-
10   bearing principal, adjust the maturity date and interest rate of his obligation to Movant and now seek
11   approval of the Court. Once the loan modification agreement is approved, Movant shall withdraw or
12   amend its proof of claim accordingly. A true and correct copy of the Loan Modification Agreement is
13   attached hereto as Exhibit C.
14
15            I declare under penalty of perjury under the laws of the United States of America that the
16   foregoing is true and correct and that this Declaration was executed on November 12, 2014, at Lewisville,
17   Texas.
18
     Maurice Dorsey                                        /s/Maurice Dorsey
19
     Declarant's Name
      
                                                           Signature of Declarant
20
21
22
23
24
25
26
27
28

     DECLARATION IN SUPPORT OF                      2                                                 5558-N-3743
     MOTION TO APPROVE LOAN MODIFICATION                                                          DecMod_CA_0001

     Case: 12-54151      Doc# 75-1     Filed: 11/18/14     Entered: 11/18/14 12:16:07       Page 2 of
                                                    2
